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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MARYLAND

     ROGER W. TITUS                                                                    6500 CHERRYWOOD LANE
UNITED STATES DISTRICT JUDGE                                                         GREENBELT, MARYLAND 20770
                                                                                              301-344-0052


                                           MEMORANDUM

       TO:            Counsel of Record
                      Clerk of the Court

       FROM:          Judge Roger W. Titus

       RE:            United States of America v. Lavon Dobie
                      Criminal Case No. RWT-04-0235-9

       DATE:          January 7, 2013

                                                 *********

             On January 2, 2013, the attached letter was received directly in chambers from the defendant.
       The Clerk of the Court is hereby DIRECTED to docket Defendant Dobie’s letter as a motion for
       amendment of sentence. The Government is directed to respond within 30 days of the date of this
       memorandum.

               Despite the informal nature of this ruling, it shall constitute an Order of the Court, and the
       Clerk is directed to docket it accordingly.


                                                                     /s/
                                                                ROGER W. TITUS
                                                          UNITED STATES DISTRICT JUDGE
